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                  IN THE UNITED STATES DISTRICT COURT
                  FOR THE MIDDLE DISTRICT OF ALABAMA
                           NORTHERN DIVISION

MARIA N. VINSON,           )
                           )
    Plaintiff,             )                       CIVIL ACTION NO.:
v.                         )
                           )                       2:12-cv-1088
KOCH FOODS OF              )
ALABAMA, LLC, and          )
KOCH FOODS, LLC, and DAVID )
BIRCHFIELD                 )
                           )
    Defendants.            )


 PLAINTIFF’S RESPONSE TO MOTION TO DISMISS ALL CLAIMS IN
              PLAINTIFF’S AMENDED COMPLAINT


       COMES NOW, Plaintiff Maria N. Vinson(“Vinson”), by and through her

attorney, and responds to Defendants, Koch Foods of Alabama, LLC’s, Koch Foods,

LLC’s and David Birchfield’s, Motion to Dismiss All Claims In Plaintiff’s Amended

Complaint based on the following:

       At issue is (1) whether the entire Amended Complaint is a “shotgun pleading1,”

(2) whether Vinson’s state law claims have been dismissed, (3) whether Vinson


       1
         Other than Defendants’ contention that the entire Amended Complaint is a “shotgun
pleading,” Defendants’ do not seek dismissal of Vinson’s § 1981 claims in Count I of her
Amended Complaint (Doc. 17) for discrimination based upon unequal pay, retaliation, and
failure to promote her to the positions of Professional Development and Training and Night HR
Manager. (Doc. 19, p. 1, 8-11).
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sufficiently pled her equal pay claims, her retaliation claims, and her promotion

claims pertaining only to the supply clerk job and other unidentified positions, (4)

whether Koch Foods, LLC and David Birchfield are Vinson’s employers, (5) whether

Vinson exhausted administrative remedies pertaining to Koch Foods, LLC, and David

Birchfield, and (6) whether Title VII claims against David Birchfield should be

dismissed. Vinson acknowledges that individuals cannot be liable under Title VII.

Otherwise, Defendants’ Motion to Dismiss is due to be denied based on the following

reasons.

       A.     Vinson’s Amended Complaint Is Not A “Shotgun Pleading”

       Defendants wrongly assert that Vinson’s Amended Complaint contains

inappropriate “shotgun pleading.” (Doc. 19, p. 4-6). Defendants’ arguments present

a mistaken understanding of what constitutes a “shotgun pleading”2 and are based

       2
           It is worth noting that in another employment discrimination case where the present
defense counsel represented the same three Defendants, they asserted this same “shotgun
pleadings” argument nearly verbatim and the Court did not dismiss any claims on that basis.
Boyd v. Koch Foods of Alabama, LLC, et al., 2:11-cv-00748 (M.D., Ala.) Doc. 65, p. 6-8.
Defense counsel appears to file motions to dismiss on a routine and repetitive basis. In the
Middle District of Alabama, Mr. Redmond or another attorney of record in a matter in which he
is listed as attorney of record have filed a motion to dismiss in Robinson, et al v. Koch Foods
(13-cv-00557-MEF-TFM) and in Bazemore v. Dynamic Security, (12-cv-00436-MEF-SRW, filed
three motions to dismiss in Allen v. Koch Foods (12-cv-00857-MEF-WC), and filed two motions
to dismiss in Kelley v. Venture Express, Inc., et al. (12-cv-00564-MEF-SRW), one of which was
withdrawn. In the Northern District of Alabama, Mr. Redmond or his fellow attorney of record
have filed a motion to dismiss in Ziegler et al v. Tower Communities LLC (13-cv-00872-KOB),
filed two motions to dismiss in Smith v. Stone Building Co., Inc., 12-cv-03893-JHE, and filed
three motions to dismiss in Contreras et al. v. Habaneros, Inc., et al. 11-cv-00208-RDP. A copy
of the docket reports for each of these matters is attached as Exhibit 1).

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solely on the fact that Vinson incorporates her statement of facts into each count of

the Amended Complaint. “Shotgun pleadings are those that incorporate every

antecedent allegation by reference into each subsequent claim for relief or affirmative

defense.” Wagner v. First Horizon Pharm. Corp., 464 F.3d 1273, 1279 (11th Cir.

2006)(citing Magluta v. Samples, 256 F.3d 1282, 1284 (11th Cir.2001) (per

curiam)(emphasis added)).

      Defendants incorrectly assert that Vinson incorporates antecedent claims for

relief in subsequent claims for relief. (Doc. 19, p. 4). In fact, at the beginning of each

count in her Amended Complaint, Vinson incorporates by reference the statement of

facts, not other legal claims. (Doc. 17, ¶¶ 28, 38, 44, 51, 57, 62).

      Vinson asserts multiple causes of action arising out of the same facts.3 (Doc.

17). This is not unusual as itle VII provides that “an unlawful employment practice

is established when the complaining party demonstrates that race, color, religion, sex,

or national origin was a motivating factor for any employment decision, even though




      3
        As Defendants acknowledge, “the elements to establish a prima face case
under Title VII and § 1981 are the same.” (Doc. 19, p. 7, n.2)(quoting Benjamin v.
Holy Cross Hosp., 2012 U.S. Dist. LEXIS 72365 at *4 (S.D. Fla. May 24, 2012)).
Since the elements are identical, it only makes sense that the facts that prove those
elements will also be the same.

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other factors also motivated the practice.” 42 U.S.C. §2000e-2(m), §703(2)(m).

Consequently, it is possible that Vinson could prove that her race under both Title VII

or § 1981was a motivating factor in her termination, while at the same time being able

to establish that her national origin, sex, or retaliation were also motivating factors.

That is because “it is a long-recognized tenet of tort law that a plaintiff’s injury can

have multiple ‘but-for’ causes, each one of which may be sufficient to support

liability.” Bailey v. City of Huntsville, Ala., 2012 WL 2047672, *9 (N. D. Ala.

2012)(footnote omitted). Further, it is possible that two or more impermissible factors

combined to cause the harm alleged, e.g., discrimination against a Hispanic female

of non-American dissent.

      This is typically called “intersectional discrimination” and it is illegal.

“Intersectionality theory posits that individuals have multiple identities that are

not addressed by legal doctrines based solely on a single identity or status.” Dianne

Avery et al., Employment Discrimination Law 47 (8th ed. 2010). That is, “some cases

present evidence that points to discrimination occurring not only because of the

plaintiff’s sex, but because of both sex and some other characteristic.” Id. at 352.

      Several courts have embraced intersectionality theory in Title VII cases. Id. at

47. The leading case for this proposition is Jefferies v. Harris Cnty. Cmty. Action




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Ass’n., 615 F.2d 1025, 1032 (5th Cir. 1980). The majority 4of federal courts have

followed the Jefferies approach, including at least two other circuits. See, e.g., Lam

v. Univ. of Hawaii, 40 F.3d 1551, 1561–62 (9th Cir. 1994); Hicks v. Gates Rubber Co.,

833 F.2d 1406, 1417 (10th Cir. 1987); Jeffers v. Thompson, 264 F. Supp.2d 314, 327

(D. Md. 2003). Indeed, albeit in dicta, the Supreme Court has favorably cited

Jefferies for the proposition that African-American females may assert intersectional

claims under Title VII. See Olmstead v. L.C. ex rel. Zimring, 527 U.S. 581, 598 n.10

(1999). Consequently, incorporating antecedent facts related to allegations of race

discrimination into a later allegation of sex discrimination (or vice-versa) permits a

plaintiff to preserve a potential claim of intersectional discrimination for later

discovery.

         Vinson set forth in her Amended Complaint seventeen separate factual

paragraphs which describe how she was treated and by whom. (Doc. 17, ¶¶ 12- 27).

Nowhere in these seventeen paragraphs does Vinson phrase these facts as legal

claims. By incorporating these facts into her subsequent counts, Plaintiff has properly

identified all of the facts which she believes pertain to each particular count,



         4
         The Eleventh Circuit, in the en banc decision, Bonner v City of Prichard, 661 F.2d 1206, 1209
   th
(11 Cir. 1981), adopted as precedent decisions of the former Fifth Circuit rendered prior to October 1,
1981.



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including the allegations that Defendants have violated the law in some other manner.

This is a far cry from what the plaintiff did in Horn v. Russell County Board of

Education, 2010 U.S. LEXIS 108827 (M.D. Ala. 2010), where the plaintiff, in her

narrative statement of facts, claimed she was bringing “a wrongful constructive

dismissal action, . . . a wrongful denial of her salary and job due process action, . . .

a wrongful reduction of her salary due process action, . . . a violation of the Alabama

Teachers’ Tenure law due process action, . . . a violation of the Family and Medical

Leave Act due process action, . . .a violation of the Americans with Disabilities Act

due process action, . . . an invasion of privacy action, a libel, slander and/or

defamation of character action, along with the other named state law tort actions” and

then incorporated each of those allegations into the separate counts of her complaint.

See, Doc. 1, Case 3:09-cv-00624-MHTCSC (M.D. Ala.).

      Defendants also argue that Vinson’s Amended Complaint is a “shotgun”

pleading because it seeks judgment against all Defendants in every count. To the

extent that each count in the Amended Complaint seeks relief from all Defendants,

Vinson concedes she is not seeking relief against an individual under Title VII;

however, Defendant Birchfield is a manager of Defendants and acting on behalf of

Defendants Koch Foods and Koch Foods of Alabama.                Furthermore, Vinson’s

Amended Complaint was intended to address the issues Defendants raised in their

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first motion to dismiss (Doc. 8) which did not raise any objection to each count

including a prayer for relief from all Defendants.

       Whatever may be said about “shotgun” Complaints (or “shotgun” motions to

dismiss), Vinson’s Amended Complaint is not due to be dismissed on those grounds.



       B.     Vinson Acknowledges That State Law Claims Have Been Dismissed.

       Defendants also ask the Court to dismiss all state law claims reasserted in

Vinson’s Amended Complaint.            Vinson acknowledges that these claims were

previously dismissed and only re-stated them to preserve those claims on record for

appeal purposes. Vinson also acknowledges that this Court’s Order setting the

deadline for this Response to be filed also included an Order dismissing Counts Three

through Six5, which included all state law claims. (Doc. 22).

       C.     Vinson Has Sufficiently Pled Facts To Support Her Pay Claims.

       Vinson sufficiently put Defendants on notice of her unequal pay claim by

alleging that she was “paid less in comparison to her white and Asian co-workers due




       5
         Count Three: Gender Discrimination; Count Four: Negligent and Wanton Hiring,
Training, Supervision, and Retention; Count Five: Invasion of Privacy; and County Six:
Intentional Infliction of Emotional Distress.

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to her race and gender” and that she was “paid less in comparison to her Hispanic

males.” (Doc. 14, ¶ 33).6

       Vinson was paid less than White and Asian employees who had less experience

and who held jobs with less responsibility than her. (Exhibit 3)7. She performed the

same or substantially similar job duties as an HR Clerk, plus additional

responsibilities including hiring authority, but was paid less than the Asian male hired

to that position. (Id. at ¶¶ 5-6). She was also paid substantially less than the White

male hired as a Supply Clerk, even though that job was initially offered at a pay rate

lower than she was paid and had much less responsibility. (Id. at ¶¶7-8). Vinson was

paid less than both the HR Clerk and Supply Clerk, despite having more education,

training, and experience than the White male and Asian male hired for those

positions. (Id. at ¶¶6-7). Neither the HR Clerk or Supply Clerk had any HR

experience, education or training. (Id. at ¶¶6, 8). In contrast, Vinson had a B.S.

degree in Human Resource Management and experience working in Human

Resources. (Doc. 17, ¶ 13).

       D.      Vinson Has Sufficiently Pled Her Retaliation Claims.

       6
         Note that Defendants’ Motion to Dismiss inaccurately cites this quote as being from
Doc. 1 at ¶¶ 21, 31. (Doc. 19, p. 7).
       7
         Vinson provides the attached declaration as additional support for her response to
Motion to Dismiss despite the fact that such additional evidence should not be required to
survive the pleading standards contemplated in FRCP 12 (b)(6).

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      As Defendants concede in their latest motion to dismiss, this Court cited

Vinson’s original Complaint was deficient because Vinson did not allege

“Defendants’ retaliation was based on her engagement in statutorily protected

activity. . . .” (Doc. 13, p. 11). In her Amended Complaint, Vinson clarified her

retaliation claim by specifically alleging that “after voicing complaints about adverse

treatment, Plaintiff incurred unlawful retaliation.” (Doc. 17, ¶ 33). She also amended

her Complaint to include allegations that she “complained to Ken German, HR

Manager, about the change in pay and awarding the position to Cleckler to no avail.”

(Doc. 17, ¶ 23). She further alleged that following her complaints her orientation

duties were taken away and given to Daisy Phillips Velez, she was “given less duties

and responsibilities so her position could be eliminated[,]” and she was “terminated

and subjected to differing terms and conditions to set Plaintiff up for failure and result

in her termination, unlike how the white managers were treated in the workplace.”

(Doc. 17, ¶¶ 24, 33).

      Specifically, Vinson complained to Mr. German that Ray Cleckler, a White

male, with less education, training, and experience than her, was hired at a rate of $3

more per hour for a job with less responsibilities than her position. (Exhibit 3, ¶ 9).

Subsequently, she interviewed with Mr. German for the position of Professional

Development and Training. (Exhibit 3, ¶ 10). During the interview, Mr. German

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referenced that Vinson’s interview was only for him to go through the motions of

interviewing candidates other than Lindsey Johnson, a White female, who had already

been selected for the position. (Id.) Mr. German was sympathetic to Vinson being

disappointed about interviewing for a position that she was not really being

considered for. They discussed that there was another purpose to the interview

besides giving Vinson a fair opportunity to be considered for the job, which was to

appear as though she was being considered when she was, in fact, not. (Id.)

         Vinson also complained to HR Manager, Shawn Collins, about having her job

duties change, not being given a clear description of her new duties, and losing her

work station, computer and tools after she returned from a suspension. (Exhibit 3, ¶

12).

         When read in their entirety, the paragraphs detailing Vinson’s retaliation claim

give rise to a plausible claim of retaliation: Plaintiff, a Hispanic employee, was

qualified to perform her job and other jobs for which she applied. (Doc. 17, ¶¶ 12, 13,

15). She was subjected to different terms and conditions of employment due to her

race and national origin. (Doc. 17, ¶¶ 15, 16, 18-27, 41). She was paid less than

non-Hispanic coworkers, including those who had less education, training, and

experience and who held job with less responsibility. (Doc. 17 ¶ 21, 22, 23, 33). She

was either not informed about open positions, mislead about the pay range of open

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positions for which she might apply, and denied promotions for which she was

qualified. (Doc. 17, ¶¶ 15, 16, 21, 22, 27, 32). She complained about being paid less

and being overlooked for jobs she was qualified to perform. (Doc. 17, ¶¶ 23; Exhibit

3, ¶¶ 9, 10, 12). After voicing complaints about the adverse treatment she was

experiencing at the hands of Defendants, she incurred unlawful retaliation by

ultimately being terminated. (Doc. 17, ¶ 33, 35). Specifically, she was denied

reassignment to open and available positions, lost her work station, computer and

tools, and was not given a clear job assignment . (Doc. 17, ¶ 19, 20, 24; Exhibit 3

¶11). Furthermore, she was laid off despite not being the least senior person. (Doc.

17, ¶¶ 25, 26, 35, 41). She was told her job was eliminated despite the fact that laying

her off ahead of less senior employees violated the company’s seniority practice to

lay off the least senior person. (Doc. 17, ¶ 41). These factual allegations are

sufficient to put Defendants on notice as to the nature of her retaliation claim.

Details, such as a blow by blow description of her complaints to HR are not required

at this stage of litigation. Bell Atlantic Corp. v. Twombly, 550 U.S. 544, 555 (2007)

(specific facts are not necessary; the statement need only ‘give the defendant fair

notice of what the . . claim is and the grounds upon which it rests.’”).

      E.     Vinson Has Sufficiently Pled All Her Promotion Claims




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      Defendants only seek to dismiss Vinson’s § 1981 claim for failure to promote

her to the Professional Development and Training position and to the night HR

general manager based on their argument that it is part of a “shotgun pleading.”

(Doc. 19, p. 8, n. 3). For reasons stated above, Vinson’s Amended Complaint is not

a “shotgun pleading” and no claims should be dismissed on that basis. In addition,

Koch Foods, LLC seeks dismissal of Vinson’s failure to promote claim on the basis

that it was not her employer. (Id.) As discussed below8, Koch Foods, LLC is the

parent company and sole member of Koch Foods-Alabama, LLC and those two Koch

entities are an integrated enterprise. Therefore, Vinson’s claims for failure to

promote her to Professional Development and Training and night HR manager should

not be dismissed.

      Defendants seek to dismiss Vinson’s failure to promote claim based on the

supply clerk job and other unidentified positions on the basis that she has

inadequately pled these claims. (Doc. 19, p. 8). Specifically, Defendants assert that

because Vinson inquired about the supply clerk job, but did not apply for it, she did

not sufficiently plead a failure to promote claim related to this specific job. This

argument, however, is counter to the rationale previously expressed by this Court.




      8
          Please refer to Section F.

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      This Court previously held that Vinson’s failure to promote claim as it pertains

to the night HR manager was sufficiently pled in the original Complaint, even though

she did not apply for it. (Doc. 13, pp. 9, 10). Specifically, this Court stated that

“Vinson need not allege she applied for the position because it was unposted, and

Defendants had reason to know of her interest in the position based on her two past

unsuccessful applications for promotions within the HR department.” (Id. at 9).

      In regards to the supply clerk job, Defendants knew Vinson was interested in

the position because she inquired about the rate of pay. (Doc. 17, ¶ 22). While it’s

true she did not apply after being told the rate of pay was $2.00 less than she was

making, she demonstrated interest in the position until she was told she would make

less money. (Doc. 17, ¶ 22). When she learned that, in fact, a White male was hired

as Supply Clerk for $3 more per hour that she was making, she complained to the HR

manager about someone less qualified than her with no seniority being hired as

Supply Clerk for more money than she was making. (Doc. 17, ¶¶ 22, 23). If had

Vinson been told that the rate of pay was negotiable, she would have applied.

(Exhibit 3, ¶ 7). The fact that the Defendants chose to hire a White male with no

experience and no employment history with Koch Foods over Vinson, and were

willing to offer him more money than Vinson, on top of all the other positions Vinson

was passed over for promotion on discriminatory grounds, is the basis for her

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justifiable belief that Defendants’ hiring practices made application a futile gesture.

EEOC v. Joe’s Stone Crabs, Inc., 296 F.3d 1265, 1274 (11th Cir. 2002); Shakleford

v. Deloitte & Touche, LLP, 190 F.3d 398, 406 (5th Cir., 1999)(the futile gesture

exception to application applies when the applicant was “deterred by a known and

consistently enforced policy of discrimination.”)).

      Defendants also assert that Plaintiff insufficiently pled failure to promote to

“other vacancies” because she did not specifically name these vacancies. In fact,

Vinson identifies six White or Asian employees who were promoted and/or paid more

than her as Mason Melton, Lindsey Johnson, Tracy (LNU), Heather Bowen, Mitzi

James, and Ray Cleckler, despite her being qualified for the positions of Professional

Development and Training, night HR general manager, HR Generalist, and Supply

Clerk . (Doc. 17, ¶¶ 15, 21, 22).       As such, Vinson has specified the positions

other than Professional Development and Training and night HR general manager that

she was qualified for and to which she was not promoted as provided for by this

Court. (Doc. 13, p. 10).

      F.     Koch Foods, LLC, Is A Properly Named Defendant.

      Defendant, Koch Foods, LLC, asserts that it should be dismissed because it was

not Vinson’s employer. (Doc. 19, pp 13-14). Koch Foods, LLC, is a properly named




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Defendant, however, because Koch Foods, LLC and Koch Foods-Alabama, LLC are

a “single employer” or an “integrated enterprise.”

      A single employer theory “involves examining various factors to determine if

two nominally independent entities are so interrelated that they actually constitute a

single integrated enterprise[.]” Klein v. L-3 Commc'ns Corp., 2013 WL 5913776

(M.D. Ala. Nov. 1, 2013)(quoting Long v. Aronov Realty Mgmt., Inc., 645 F.Supp.2d

1008, 1029 (M.D.Ala.2009) (internal quotations and citations omitted)). In order to

establish a “single employer” or “integrated enterprise”, Vinson must ultimately

present sufficient evidence from which a jury could conclude that the entities had (1)

interrelation of operations, (2) centralized control of labor relations, (3) common

management, and (4) common ownership or financial control. Player v. Nations

Biologics, Inc., 993 F.Supp. 878, 881 (M.D. Ala. 1997). At this stage, however,

reviewing Vinson’s claims under FRCP 12(b)(6) the Court must accept her

allegations as true and read them in the light most favorable to her. Duke v. Cleland,

5 F.3d 1399, 1402 (11th Cir. 1993)(citation omitted).

      Vinson alleges in her Amended Complaint that Koch Foods, LLC, owns and

operates chicken kill plants, including the plant operating as Koch Foods-Alabama,

LLC, and it and allows or licenses its name to kill plants including Koch Foods-




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Alabama. (Doc. 17, ¶ 6). Vinson also alleges that she was hired in the “Montgomery

kill facility of Koch Foods, LLC.” (Doc. 17 ¶ 14).

      In another recent employment discrimination case against these same

Defendants, Koch Foods, LLC, failed to persuade the Court that it should be

dismissed because it was not the plaintiff’s employer. In Boyd v. Koch Foods, LLC,

et al., 2:11-cv-00748 (M.D., Ala.) Doc. 131-1, p. 2, Robert Elrod provided an

affidavit in support of Defendants’ Motion for Summary Judgment in which he

attested that he is employed by Koch Foods, and that Koch Foods is “parent company

and sole member of several entities, including Koch Foods of Alabama, L.L.C.”

(Exhibit 2, ¶ 2)9 He also attested that, as the Human Resource Director for Koch




      9
         A copy of Elrod’s Declaration is attached hereto as Exhibit 2. Mr. Elrod,
in one affidavit in the Boyd matter, testified that he is employed by Koch Foods of
Mississippi, LLC. (Doc. 6-1, p. 2). In his affidavit, dated August 6, 2012 and
submitted in support of Defendants’ motions for summary judgment, Elrod
testified that he is employed by Koch Foods, Inc. as the Human Resource Director
and that the Complex Human Resources Manager of Koch-Ala [Birchfield] reports
to him. (Doc. 131-1, p. 2). During his deposition, taken on July 20, 2012, Elrod
claimed he was employed by Koch Foods of Mississippi. (Elrod depo., 8:2-4). He
then proceeded to claim that he was the director of human resources for “the entire
Koch Foods.” (Elrod depo., 8:19-9:1). Finally, he produced his personal business
card, which read “Koch Foods, Inc.,” (Elrod depo., 10:13-14), but claimed that he
was not familiar with “Koch Foods, Inc.” (Elrod depo., 10:15-19). Doc. 246, P.
98.


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Foods, Defendant David Birchfield, the Complex Human Resources Manager of

Koch Foods-Alabama, reports to him. (Exhibit 2, ¶ 2).

       As the parent company and sole member of Koch Foods-Alabama, LLC, Koch

Foods, LLC, is the owner and operator of the facility where Vinson was employed

and, as such, share common ownership or financial control and interrelation of

operations. The common management and centralized control of labor relations is

evident in the prior testimony of Mr. Elrod that Birchfield, HR Manager at Koch

Foods-Alabama, reports directly to him as HR Director of Koch Foods, LLC. Cf.

Klein v. L-3 Commc'ns Corp., 2013 WL 5913776 (M.D. Ala. Nov. 1, 2013)(no

centrally controlled labor operations existed when subsidiary employee was only

supervised by other employees of subsidiary company and did not report to anyone

at parent company). The Court can plausibly determine that Koch Foods, LLC is a

properly named Defendant based upon the facts alleged in the Amended Complaint.

Upon information and belief, the discovery process will provide even more facts

supporting that Koch Foods, LLC, and Koch Foods-Alabama, LLC are an integrated

enterprise. Koch Foods, LLC, therefore, should not be dismissed at this stage of

litigation.

       G.     Vinson Exhausted Administrative Remedies Against Koch Foods,
              LLC


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       Defendants argue that Vinson failed to exhaust her administrative remedies

against Koch Foods, LLC and David Birchfield because they were not specifically

named in her EEOC charge, and Birchfield cannot be liable as an individual under

Title VII. This is a hyper-technical and incorrect application of the law.

       While Vinson acknowledges that David Birchfield cannot be liable as an

individual under Title VII, the definition of an “employer” under Title VII includes

an employer’s agent, and the employer is accountable for the discriminatory acts of

its individual agents. Dubisar-Dewberry v. Folmar, 883 F. Supp. 648, 650 (M.D.

Ala. 1995)(citing Smith v. Capitol City Club of Montgomery, 850 F.Supp. 976, 978-

979 (M.D.Ala.1994). As HR Manager of Koch Foods-Alabama, LLC, Birchfield was

a decision maker in Vinson’s termination and is Koch Foods-Alabama’s agent. As

such, Birchfield can be a proper Defendant in his capacity as an agent of his employer

in this action.

       Vinson exhausted her administrative remedies against Birchfield because his

role in the discrimination she suffered at Koch Foods-Alabama is clearly discussed

in the body of her charge, and he was clearly on notice of the allegations against him

because he is the party who responded to the charge on behalf of his employer.

(Exhibit 4). Cf. Dubisar-Dewberry,883 F. Supp. 648, 651 (M.D. Ala. 1995)

(plaintiff in pregnancy discrimination action did not exhaust administrative remedies

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against individuals who were neither specifically named in her EEOC charge nor

were they otherwise on notice of the charge based on the allegations of their

individual wrongdoing in the body of the charge). “The crucial element of a charge

of discrimination is the factual statement contained therein. Everything else entered

on the form is, in essence, a mere amplification of the factual allegations.” Sanchez

v. Standard Brands, Inc., 431 F.2d 455, 462 (5th Cir. 1970). The fact that the name

in the box in the heading of the EEOC charge states “Koch Foods” does not cancel

the effect of Birchfield being clearly named and discussed in the charge as a decision

maker in the terms and conditions of Vinson’s employment.

      Koch Foods, LLC, also had sufficient notice of the EEOC charge. The charge

names “Koch Foods,” not “Koch Foods, LLC” or “Koch Foods-Alabama, LLC.” “It

is well-established that an administrative charge against one defendant may provide

sufficient notice to another defendant, when the two are closely related entities.”

DiGiro v. Pall Corp., 993 F. Supp. 1471, 1474 (M.D. Fla. 1998)(internal quotes

omitted)(denying motion to dismiss because unnamed corporation was on notice of

EEOC charge as the parent company of the entity named in the charge and when the

two entities shared the same legal counsel). As established above, these two

Defendants have previously provided evidence that Koch Foods, LLC is the parent




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company and sole member of Koch Foods-Alabama, LLC, are an integrated

enterprise, and share the same legal counsel.

      WHEREFORE, premises considered, Defendants’ Motion to Dismiss All

Claims In Plaintiff’s Complaint is due to be DENIED or in the alternative permit

Plaintiff to Amend her Complaint.


                                      Respectfully submitted,


                                       /s/ Alicia K. Haynes
                                      Alicia K. Haynes
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                         CERTIFICATE OF SERVICE

      I hereby certify that a copy of the above and foregoing has been served upon
each of the below listed counsel of record, by placing same in the U. S. Mail, postage
prepaid and properly addressed, this 2nd day of December, 2013:

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